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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 SUFFOLK COUNTY WATER AUTHORITY,

                                    Plaintiff,                                      ORDER

                  -against-                                                         17-CV-6980 (NG)

 THE DOW CHEMICAL COMPANY, FERRO
 CORPORATION, and VULCAN MATERIALS
 COMPANY,

                                     Defendants.
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 AND RELATED CASES:
 2:18-cv-07266 (NG); 2:18-cv-07272 (NG); 2:18-cv-07279 (NG);
 2:18-cv-07281 (NG); 2:19-cv-01351 (NG); 2:18-cv-07269 (NG);
 2:19-cv-01404 (NG); 2:18-cv-07271 (NG); 2:18-cv-07278 (NG);
 2:19-cv-01348 (NG); 2:19-cv-00085 (NG); 2:18-cv-07282 (NG);
 2:19-cv-02490 (NG); 2:19-cv-02990 (NG); 2:19-cv-02973 (NG);
 2:19-cv-02974 (NG); 2:19-cv-02975 (NG); 2:19-cv-03059 (NG);
 2:19-cv-03197 (NG); 2:18-cv-07277 (NG); 2:19-cv-02150 (NG);
 2:19-cv-03570 (NG); 2:19-cv-02986 (NG); 2:19-cv-05632 (NG);
 2:19-cv-05775 (NG); 2:19-cv-05825 (NG)
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         Having considered the submissions of the parties and the hearing held on February 9,

 2021, we now issue the following order to govern the proceedings in all of the above-captioned

 related cases.

         The first-filed Suffolk County Water Authority case will be given priority for the

 completion of all of its discovery, including expert discovery. Presumptively, but subject to

 further consideration, it will also be given priority in the scheduling of dispositive motions

 and/or trial.

         The parties have reached agreements, as set forth at the hearing, as to the avoidance of

 duplication of discovery across these cases. We understand from the hearing, at which the
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 plaintiffs not represented by Sher Edling LLP expressed no disagreement, that the discovery of

 all defendants in all cases will be complete upon completion of plaintiffs’ discovery of the

 defendants in the Suffolk County Water Authority case.

        But the parties have not agreed upon any date by which defendants must seek to add

 third-parties in all cases, either by agreement or with leave of the Court following a request for

 a premotion conference. The parties are directed to meet and confer and, by March 3, 2021,

 to notify us of their agreed upon date for seeking to add third-parties.

        Also, after a meet and confer, by March 3, 2021, the parties are directed to submit an

 agreed upon schedule for the completion of all discovery, including expert discovery, in the

 Suffolk County Water Authority case.

        In order to avoid any duplication of depositions that might otherwise occur, only after

 third-party defendants have been added in the various cases may the parties proceed with party

 (and consultant) depositions in the Suffolk County Water Authority case and also in the other

 cases. With regard to the other cases, the depositions should be taken with an eye toward

 determining whether there are common issues that can be subject to joint motions/trials, and

 what order of priority, after the Suffolk County Water Authority case, they choose to propose.

 For these purposes and during this phase of discovery, no more than 65 such depositions of

 plaintiffs and their consultants should be taken in the other cases. Proposals on the common

 issues and prioritization should be submitted to the Court, following efforts by the parties to

 reach agreement, at the time of the completion of fact discovery in the Suffolk County Water

 Authority case.
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          SO ORDERED.


 Dated:     Brooklyn, New York
            February 17, 2021


 /s   Nina Gershon                        /s   Roanne L. Mann
 NINA GERSHON                             ROANNE L. MANN
 UNITED STATES DISTRICT JUDGE             UNITED STATES MAGISTRATE JUDGE
